    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 1 of 15 PageID #:33



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHENZHEN JINGHE TECHNOLOGY CO., LTD.,                     )
                                                          )
                                        Plaintiff,        )   Case No. 18-cv-5031
                                                          )
        v.                                                )   Judge: Hon. Sara L. Ellis
                                                          )
DOES 1-166, DOES 167-169                                  )   Magistrate: Hon. Maria Valdez
                                                          )
                                        Defendants.       )
___________________________________________________ )


                                  AMENDED COMPLAINT
     Plaintiff Shenzhen Jinghe Technology Co., Ltd. (“Jinghe” or “Plaintiff) hereby brings the

present action against Does 1-166 and Does 167-169 identified on Amended Schedule A

attached hereto (collectively, “Defendants”) and alleges as follows:

                              I. JURISDICTION AND VENUE

     1. This Court has original subject matter jurisdiction over the claims in

this action pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C.

1338(a)-(b) and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that

arise under the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state

law claims are so related to the federal claims that they form part of the same case or

controversy and derive from a common nucleus of operative facts.

   2. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this

Court may properly exercise personal jurisdiction over Defendants since each of the Defendants

directly targets business activities toward consumers in the United States, including Illinois,
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 2 of 15 PageID #:34




through at least the fully interactive, commercial Internet stores operating under the Online

Marketplace Accounts identified in Amended Schedule A attached hereto (the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Defendant Internet Stores through which

Illinois residents can purchase products using counterfeit versions of Jinghe’s trademark. Each

of the Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold counterfeit products using counterfeit versions of Jinghe’s

federally registered trademark to residents of Illinois. Each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Jinghe

substantial injury in the State of Illinois.

                                       II. INTRODUCTION

     3. This action has been filed by Jinghe to combat online counterfeiters

who trade upon Jinghe’s reputation and goodwill by selling and/or offering for sale unauthorized

and unlicensed counterfeit products, using counterfeit versions of Jinghe’s federally registered

trademark COMWINN (the “Counterfeit COMWINN products”) for LED Lighting Products.

The Defendants create the Defendant Internet Stores and design them to appear to be selling

genuine COMWINN products in the description, image or title of products, while in fact selling

Counterfeit COMWINN Products to unknowing customers. The Defendant Internet Stores share

unique identifiers, such as design elements and similarities of the Counterfeit COMWINN

Products offered for sale, establishing a logical relationship between them and suggesting that
                                                 2
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 3 of 15 PageID #:35




Defendants’ counterfeiting operation arises out of the same transaction, occurrence, or series of

transactions or occurrences. Defendants attempt to avoid liability by going to great lengths to

conceal both their identities and the full scope and interworking of their counterfeiting

operation. Jinghe is forced to file this action to combat Defendants’ counterfeiting of its

registered trademarks and protect unknowing consumers from purchasing Counterfeit

COMWINN Products over the Internet. Jinghe has been and continues to be irreparably

damaged through consumer confusion of its valuable trademark as a result of Defendants’

actions and seeks injunctive and monetary relief.

                                        III. THE PARTIES

Plaintiff

     4.     Plaintiff Shenzhen Jinghe Technology Co. Ltd., is a Chinese limited

liability company with its principal place of business at No. 1, QianWan Rd., Qianhai

ShenGang Cooperation Area, Shenzhen China. It started to ship goods to its US Storage since

September 6, 2016 using Amazon FBA shipping service.

     5.     Jinghe was founded by YueZhong Li who established the company

on August 25, 2015. Jinghe focuses its online business and gained a rapid growth on E-

Commerce that covers major international markets including USA, UK, Germany, France,

Spain and Italy through various sites of Amazon: www.amazon.com, www.amazon.co.uk,

www.amazon.de, www.amazon.fr, www.amazon.es and www.amazon.it.

     6.     Jinghe’s registered US trademark COMWINN (U.S. Reg. No. 5261169) has become a

well-known brand in the Industry of Lighting and Lamps on Amazon for its top rank on
                                                  3
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 4 of 15 PageID #:36




American and European sales. Some COMWINN Products won the BEST SELLER and

Amazon’s choice symbol. COMWINN Products’ fine quality and excellent customer service

contribute to its achievement as a popular brand across the whole sites of Amazon in LED lights

and lamps of the same type. Jinghe also enjoys EU design patents for its COMWINN Products.

COMWINN has formed a high degree of confidence and loyalty in customers’ hearts thanks to

its cost-effective product nature that brings daily life convenience to its global customers.

     7. Jinghe has spent tremendous work, energy, time and financial

resources on establishing COMWINN as a top LED Lighting brand on Amazon. It costs Jinghe

multi-million dollars on developing and promoting all COMWINN Products. The cost of

research and development at preliminary stage of each listed COMWINN LED Lighting

Product alone exceeds USD 160,000, including but not limited to the costs of manual design,

fees for establishing intellectual property rights, mode development, etc., not to mention other

operational costs, including advertising fees, labor costs, production costs, storage costs, etc.

     8.   Jinghe incorporates the distinctive mark of COMWINN in the design

of its various Jinghe products. For its first use in commerce, Jinghe owns common law

trademark rights in COMWINN Trademark. Jinghe has also registered its trademark

COMWINN with the United States Patent and Trademark Office. Jinghe uses its trademark

COMWINN in connection with the marketing of its Jinghe Products.

     9.    The U.S. registration for the Jinghe Trademark COMWINN

is valid, subsisting, in full force and effect. The COMWINN Trademark has been used by

Jinghe exclusively and continuously and has never been abandoned. The registration for the
                                                 4
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 5 of 15 PageID #:37




COMWINN Trademark constitutes prima facie evidence of its validity and of Jinghe’s

exclusive right to use the COMWINN Trademark pursuant to 15 U.S.C. § 1057 (b). True and

correct copies of the United States Registration Certificates for the above-listed COMWINN

Trademark is attached hereto as Exhibit 1.

     10.   The COMWINN Trademark is exclusive to Jinghe and is displayed

extensively on Jinghe Products and in Jinghe’s marketing and promotional materials.

COMWINN Products have also been the subject of extensive unsolicited publicity resulting

from their high-quality, innovative designs and renown as one of the most popular brand in the

industry. Because of these and other factors, the COMWINN brand distinguished itself

remarkably throughout online marketplace sales.

     11.   The COMWINN Trademark is distinctive when applied to the

Jinghe Products, signifying to the purchaser that the products come from Jinghe and are

manufactured to Jinghe’s quality standards, which pass the strict tests of ISO (International

Organization for Standardization). The COMWINN Trademark has achieved outstanding

recognition on Amazon, which has only added to the inherent distinctiveness of the mark. As

such, the goodwill associated with the COMWINN Trademark is of incalculable and

inestimable value to Jinghe.

The Defendants

     12.   Defendants are individuals or business entities who, upon

information and belief, reside in the United States, United Kingdom or other foreign

jurisdictions. Defendants conduct business throughout the United States, including within the
                                                5
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 6 of 15 PageID #:38




State of Illinois and this Judicial District, through the operation of the fully interactive

commercial websites and online marketplaces operating under the Defendant Internet Stores.

Each Defendant targets the United States, including Illinois, and has offered to sell, and on

information and belief, has sold and continues to sell Counterfeit COMWINN products to

consumers within the United States, including the State of Illinois by providing shipments of

Counterfeit COMWINN Products and accepting orders and payments for Counterfeit

COMWINN Products from Illinois residents.

     13.   On information and belief, Defendants are an interrelated group of

counterfeiters working in active concert to knowingly and willfully manufacture, import,

distribute, offer for sale, and sell products using counterfeit versions of the COMWINN

Trademark in the same transaction, occurrence, or series of transactions or occurrences. Tactics

used by Defendants to conceal their identities and the full scope of their counterfeiting

operation make it virtually impossible for Jinghe to learn Defendants’ true identities and the

exact interworking of their counterfeit network. If defendants provide additional credible

information regarding their identities, Jinghe will take appropriate steps to amend the

Complaint.

                         IV. DEFENDANTS’ UNLAWFUL CONDUCT

     14. The success of COMWINN brand has resulted in its significant

counterfeiting. Consequently, Jinghe has regularly investigates online marketplace in proactive

Internet sweeps and reported by consumers. Jinghe has recently identified numerous fully

interactive marketplace listings on websites such as Amazon, eBay, and various UK websites
                                                  6
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 7 of 15 PageID #:39




targeting the US consumers, etc. In spite of Jinghe’s enforcement efforts, including urging

online marketplaces to restrict infringing sellers from continuing selling counterfeiting

COMWINN products and sending cease and desist letters to infringers, Defendants have

persisted in listing, offering to sell or selling Counterfeit COMWINN Products. Internet

websites like the Defendant Internet Stores are estimated to receive tens of millions of visits per

year and to generate $135 billion in annual online sales. According to an intellectual property

rights seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail

price (MSRP) of goods seized by the U.S. government in fiscal year 2014 was over $1.23

billion. Internet websites like the Defendant Internet Stores are also estimated to contribute to

tens of thousands of lost jobs for legitimate businesses and broader economic damages such as

lost tax revenue every year.

     15. Defendants facilitate sales by designing the Defendant Internet

Stores so that they appear to unknowing consumers to be authorized by online retailers, outlet

stores, or wholesalers. Defendant Internet Stores look sophisticated and accept payment in U.S.

dollars via credit cards, Western Union, Payoneer and PayPal. The Defendant Internet Stores

often include content and design elements that make it very difficult for consumers to distinguish

such counterfeit sites from an authorized website. Many Defendants further perpetuate the

illusion of legitimacy by offering customer service and using indicia of authenticity and security

that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos. Jinghe has not licensed or authorized Defendants to use any

of the COMWINN Trademark, and none of the Defendants are authorized retailers or wholesalers
                                                 7
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 8 of 15 PageID #:40




of genuine COMWINN Products.

     16.   Many Defendants also deceive unknowing consumers by using the

COMWINN Trademark without authorization within the content, text, and/or meta tags of their

websites to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for COMWINN Products. Furthermore, upon information and belief,

Defendants also use additional unauthorized search engine optimization (SEO) tactics and

social media spamming so that the Defendant Internet Stores listings show up at or near the top

of relevant search results and misdirect consumers searching for genuine COMWINN Products.

Some Defendants only show the COMWINN Trademark in product images, while using

strategic item titles and descriptions that will trigger their listings when consumers are

searching for COMWINN Products.

     17.   Defendants go to great lengths to conceal their identities and often

use multiple fictitious names and addresses to register and operate their network of Defendant

Internet Stores. For example, many of Defendant’s names and physical addresses used to

register the online account are incomplete or virtual. On information and belief, Defendants

regularly create new websites or online marketplace accounts on various platforms using the

identities listed in Amended Schedule A to this Complaint, as well as other unknown fictitious

names and addresses. Such Defendant Internet Store registration patterns are one of many

common tactics used by the Defendants to conceal their identities, the full scope and

interworking of their counterfeiting operation, and to avoid being shut down.

     18.   Even though Defendants operate under multiple fictitious names,
                                                 8
    Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 9 of 15 PageID #:41




there are numerous similarities among the Defendant Internet Stores. For example, Many

Defendants’ websites or product pages have virtually identical layouts with brand name

COMWINN in the description of the product, even though different aliases or user names were

used to register the respective online stores, suggesting that the Counterfeiting COMWINN

Products were manufactured by and come from a common source and that Defendants are

interrelated. In addition, Counterfeit COMWINN Products for sale in the Defendant Internet

Stores bear similar irregularities and indicia of being counterfeit to one another, including using

meta data, illegitimate SEO tactics, HTML user-defined variables, and the use of the same text

and images, with content copied from Jinghe’s official Amazon Store. Further, counterfeiters

such as Defendants typically operate several credit card merchant accounts and PayPal accounts

behind layers of payment gateways so that they can continue operation in spite of Jinghe’s

enforcement efforts.

     19.    Defendants, without any authorization or license from Jinghe, have

knowingly and willfully used and continue to use the COMWINN Trademark in connection

with the advertisement, promotion, distribution, offering for sale, and sale of Counterfeit

COMWINN Products into the United States, including Illinois, and, on information and belief,

each Defendant has sold Counterfeit COMWINN Products into the United States, including

Illinois.

     20.    Defendants’ use of the COMWINN Trademark in connection with

the advertising, distribution, promotion, offering for sale, and sale of Counterfeit COMWINN

Products, including the sale of Counterfeit COMWINN Products into the United States,
                                                 9
   Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 10 of 15 PageID #:42




including Illinois, is likely to cause and has caused confusion, mistake, and deception by and

among consumers and is irreparably harming Jinghe.

                                             COUNT I

TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. §1114)

     21.   Jinghe hereby re-alleges and incorporates by reference the

allegations set forth in paragraph 1 through 20.

     22.   This is a trademark infringement action against Defendants based

on their unauthorized use in commerce of counterfeit imitations of the federally registered

COMWINN Trademark in connection with the sale, offering for sale, distribution, and/or

advertising of infringing goods. The COMWINN Trademark is highly distinctive mark.

Consumers have come to expect the highest quality from COMWINN Products offered, sold or

marketed under the COMWINN Trademark.

     23.   Defendants have sold, offered to sell, marketed, distributed and

advertised, and are still selling, offering to sell, marketing, distributing and advertising products

using counterfeit reproductions of the COMWINN Trademark without Jinghe’s permission.

     24.   COMWINN is the exclusive owner of the COMWINN Trademark.

Jinghe’s United States Registrations for the COMWINN Trademark (Ex. 1) are in full force and

effect. Upon information and belief, Defendants have knowledge of Jinghe’s rights in the

COMWINN Trademark, and are willfully infringing and intentionally using counterfeit of the

COMWINN Trademark. Defendants’ willful, intentional and unauthorized use of the

COMWINN Trademark is likely to cause and is causing confusion, mistake, and deception as to
                                                   10
   Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 11 of 15 PageID #:43




the origin and quality of the Counterfeit COMWINN Products among the general public.

     25.     Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

     26.     Jinghe has no adequate remedy at law, and if Defendants’ actions

are not enjoined, Jinghe will continue to suffer irreparable harm to its reputation and the

goodwill of its well-known COMWINN Trademark.

     27.     The injuries and damages sustained by Jinghe have been directly

and proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit COMWINN Products.

                                            COUNT II

                   FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

     28.     Jinghe hereby re-alleges and incorporates by reference the

allegations set forth in paragraph 1 through 27.

     29.     Defendants’ promotion, marketing, offering for sale, and sale of

Counterfeit COMWINN Products has created and is creating a likelihood of confusion, mistake,

and deception among the general public as to the affiliation, connection, or association with

Jinghe or the origin, sponsorship, or approval of Defendants’ Counterfeit COMWINN Products

by Jinghe.

     30.     By using the COMWINN Trademark on the Counterfeit

COMWINN Products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Counterfeit COMWINN Products.
                                                   11
   Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 12 of 15 PageID #:44




     31.   Defendants’ false designation of origin and misrepresentation of

fact as to the origin and/or sponsorship of the Counterfeit COMWINN Product to the general

public involves the use of Counterfeit marks and is a willful violation of Section 43 of the

Lanham Act, 15 U.S.C. § 1125.

     32.   Jinghe has no adequate remedy at law and, if Defendants’ actions

are not enjoined, Jinghe will continue to suffer irreparable harm to its reputation and the

goodwill of its COMWINN brand.
                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)
     33.   Jinghe hereby re-alleges and incorporates by reference the

allegations set forth in paragraph 1 though 32.

     34.   Defendants have engaged in acts violating Illinois law including,

but not limited to, passing off their Counterfeit COMWINN Products as those of Jinghe;

causing likelihood of confusion and/or misunderstanding as to the source of their goods;

causing a likelihood of confusion and/or misunderstanding as to an affiliation, connection, or

association with genuine COMWINN Products; representing that their Counterfeit COMWINN

Products have Jinghe’s approval when they do not; and engaging in other conduct which creates

a likelihood of confusion or misunderstanding among the public.

     35.   The foregoing Defendants’ acts constitute a willful violation of the

Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

     36.   Jinghe has no adequate remedy at law, and Defendants’ conduct has


                                                  12
   Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 13 of 15 PageID #:45




caused Jinghe to suffer damage to its reputation and goodwill. Unless enjoined by the Court,

Jinghe will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                    PRAYER FOR RELIEF

WHEREFORE, Jinghe prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under, or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

     a. using the COMWINN Trademark or any reproductions, counterfeit copies or colorable

        imitations thereof in any manner in connection with the distribution, marketing,

        advertising, offering for sale, or sale of any product that is not a genuine COMWINN

        Product or is not authorized by Jinghe to be sold in connection with the COMWINN

        Trademark;

     b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

        COMWINN Product or any other product produced by Jinghe, that is not Jinghe’s or

        not produced under the authorization, control, or supervision of Jinghe and approved

        by Jinghe for sale under COMWINN Trademark;

     c. committing any acts calculated to cause consumers to believe that Defendants’

        Counterfeit COMWINN Products are those sold under the authorization, control or

        supervision of Jinghe, or are sponsored by, approved by, or otherwise connected with

        Jinghe;

     d. further infringing the COMWINN Trademark and damaging Jinghe’s goodwill; and
                                                 13
   Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 14 of 15 PageID #:46




    e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

      storing, distributing, returning, or otherwise disposing of, in any manner, products or

      inventory not manufactured by or for Jinghe, nor authorized by Jinghe to be sold or

      offered for sale, and which bear any of Jinghe’s trademarks, including COMWINN

      Trademark, or any reproductions, counterfeit copies or colorable imitations thereof;

2) Entry of an Order that, upon Jinghe’s request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace

   platforms such as eBay, sponsored search engine or AdWord providers, credit cards, banks,

   merchant account providers, third party processors and other payment processing service

   providers, Internet search engines such as Google, Bing and Yahoo (collectively, the “Third

   Party Providers”) shall:

    a. disable and cease providing services being used by Defendants, currently or in the

        future, to engage in the sale of goods using COMWINN Trademark;

    b. disable and cease displaying any advertisements used by or associated with Defendants

        in connection with the sale of counterfeit and infringing goods using the COMWINN

        Trademark; and

    c. take all steps necessary to prevent links to the Defendants Marketplace Stores’ Domain

        Names identified on Amended Schedule A from displaying in search results, including,

        but not limited to, removing links to those Domain Names from any search index;

3) That Defendants account for and pay to Jinghe all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for
                                               14
   Case: 1:18-cv-05031 Document #: 12 Filed: 07/31/18 Page 15 of 15 PageID #:47




   infringement of the COMWINN Trademark be increased by a sum not exceeding three

   times the amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Jinghe be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of

   the COMWINN Trademark;

5) That Jinghe be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.

Dated this 31st day of July 2018.              Respectfully submitted,
                                               /s/ Wei Chen
                                               Wei Chen
                                               Bar License Number: IL 6299278
                                               Wei Chen IP LLC
                                               1440 Taylor St #677
                                               Chicago, Illinois 60607
                                               312. 883.3101(phone)
                                               844.269.2799 (fax)
                                               wchen@weichenip.com

                     Counsel for Plaintiff Shenzhen Jinghe Technology Co. Ltd.




                                               15
